






Opinion issued March 8, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00986-CV






SAMUEL CHARLES VAN NESS, IV, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 122nd Court

Galveston County, Texas

Trial Court Cause No. 2006CV0792






MEMORANDUM OPINION	Appellant Samuel Charles Van Ness, IV has neither established indigence, nor
paid all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil
cases unless indigent), 20.1 (listing requirements for establishing indigence); see also
Tex. Gov't Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2005) (listing fees
in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals). 
After being notified that this appeal was subject to dismissal, appellant Samuel
Charles Van Ness, IVdid not adequately respond.  See Tex. R. App. P. 5 (allowing
enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Justices Taft, Alcala, and Higley.


